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                 Attorneys for AT&T MOBILITY, LLC
           10
                                             UNITED STATES DISTRICT COURT
           11
                                          NORTHERN DISTRICT OF CALIFORNIA
           12
                                                  OAKLAND DIVISION
           13    ROBERT ROSS,                             CASE NO. 4:19-CV-06669 (JST)
           14                       Plaintiff,               DEFENDANT AT&T MOBILITY LLC’S
                                                             CERTIFICATION OF INTERESTED
           15          v.                                    ENTITIES OR PERSONS PURSUANT TO
                                                             CIVIL L.R. 3-15 AND CORPORATE
           16    AT&T MOBILITY, LLC,                         DISCLOSURE STATEMENT PURSUANT
                                                             TO FED. R. CIV. P. 7.1
           17                       Defendant.
           18                                                Action Filed: October 17, 2019
           19                                                Judge:       Hon. Jon S. Tigar
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                        DEFENDANT’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
Gibson, Dunn &              PURSUANT TO CIVIL L.R. 3-15 AND CORPORATE DISCLOSURE
Crutcher LLP
                                  STATEMENT PURSUANT TO FED. R. CIV. P. 7.1
                                         CASE NO. 4:19-CV-06669 (JST)
                        Case 4:19-cv-06669-JST Document 15 Filed 12/06/19 Page 2 of 2


             1          Pursuant to Federal Rule of Civil Procedure 7.1, Defendant AT&T Mobility LLC hereby states
             2   that AT&T Mobility LLC is a direct or indirect wholly-owned subsidiary of AT&T Inc. No publicly
             3   held corporation owns 10% or more of AT&T Inc.’s stock.
             4          Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,
             5   associates of persons, firms, partnerships, corporations (including parent corporations) or other entities
             6   (i) have a financial interest in the subject matter in controversy or in a party to the proceeding, or (ii)
             7   have a non-financial interest in that subject matter or in a party that could be substantially affected by
             8   the outcome of the proceeding: AT&T Inc.
             9
           10    Dated: December 6, 2019                        Respectfully submitted,
           11                                                   GIBSON, DUNN & CRUTCHER LLP
           12
           13                                                   By: /s/ Marcellus A. McRae
                                                                        Marcellus A. McRae
           14
                                                                Attorney for AT&T Mobility LLC
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                          DEFENDANT’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
Gibson, Dunn &                PURSUANT TO CIVIL L.R. 3-15 AND CORPORATE DISCLOSURE
Crutcher LLP
                                    STATEMENT PURSUANT TO FED. R. CIV. P. 7.1
                                           CASE NO. 4:19-CV-06669 (JST)
